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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 BAYU SAPUTRA, Personal Representative of             )
 the Heirs of CANDRA KIRANA, deceased,                )
 MARSUDI, Personal Representative of the              )
 Heirs of CICI ARISKA, deceased,                      )
 SUTARIYO, Personal Representative of                 )
 the Heirs of ASEP SARIFUDIN, deceased,               )
                                                      )
                                                        No.
                               Plaintiffs,            )
                                                      )
                   v.                                 )
                                                      )
 THE BOEING COMPANY, a corporation,                   )
                                                      )
                               Defendant              )

                                             COMPLAINT

      Plaintiffs Bayu Saputra, Personal Representative of the heirs of Candra Kirana, deceased,

Marsudi, Personal Representative of the heirs of Cici Ariska, deceased, and Sutariyo, Personal

Representative of the heirs of Asep Sarifudin, deceased, by their attorneys, Wisner Law Firm, P.C.,

for their complaint against defendant The Boeing Company (“Boeing”) state as follows:

                                              COUNT I

      1.    Plaintiffs are citizens of Indonesia.       Plaintiffs are the heirs, and personal

representatives, of their respective decedents. Plaintiffs’ decedents were citizens of Indonesia.

      2.    Defendant Boeing is a corporation which has its principal place of business in, and is

a resident of, Chicago. Illinois.

      3.    This action arises from the crash of Lion Air Flight JT 610 in which more than 75

persons died at the same location. Therefore, this action is governed by the Multi-Forum Multi-

Jurisdiction Act, 28 U.S.C. §1369, and this Court has subject matter jurisdiction over this action

under 28 U.S.C. § 1331.
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      4.    Venue is proper in this District under 28 U.S.C. §1391 as defendant Boeing is a resident

of this District.

      5.    On a date prior to or about August 2018, defendant Boeing designed, manufactured,

assembled, and sold a certain Boeing 737 Max 8 aircraft, Registration PK-LQP (“the accident

aircraft”) and prepared and provided an Aircraft Flight Manual (AFM) for the accident aircraft.

      6.    At the time the accident aircraft and its AFM left the control of defendant Boeing, they

were defectively and unreasonably dangerous in one or more of the following respects:

      (a) the accident aircraft had a flight control feature which, in the event sensor(s) on the
          aircraft reported an erroneously high angle of attack, would command a nose down
          movement of the aircraft unauthorized by, and without notice to, the flight crew;
      (b) the subject sensor(s) on the accident aircraft were subject to failure in flight and subject
          to providing erroneous information to the aircraft’s flight control system as to the
          aircraft’s angle of attack;
      (c) the subject sensor(s) on the accident aircraft were subject to becoming blocked or
          obstructed, causing them to provide erroneous information, including erroneous
          information as to the aircraft’s angle of attack, to the aircraft’s flight control system;
      (d) the accident aircraft’s flight control system failed to filter out erroneous information,
          including erroneous information as to the accident aircraft’s angle of attack;
      (e) the accident aircraft’s above-described flight control feature commanded dangerous
          downward movements of the accident aircraft unauthorized by the flight crew and did
          not allow the flight crew a means or method to timely and safely manually override an
          improperly-commanded downward movement;
      (f) the accident aircraft did not provide a means or method for the flight crew to timely and
          safely correct an improperly-commanded downward movement and recover control of
          the accident aircraft; and
      (g) the AFM for the accident aircraft did not warn of the dangers presented by the above-
          described defects; and
      (h) the AFM for the accident aircraft did not     provide instruction as to a procedure to
          be followed by the flight crew to timely and safely correct an improperly commanded
          downward movement and to recover control of the accident aircraft.
      7.    On October 29, 2018, the accident aircraft was being operated by Lion Air as Flight

No. JT 610 from Jakarta, Indonesia to Pangkal Pinang, Indonesia.



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      8.    On said date, plaintiffs’ decedents were fare paying passengers onboard the accident

aircraft on the subject flight.

     9.     As the direct and proximate result of one or more of the above-described defects in the

accident aircraft, one or more of the sensors on the accident aircraft failed and provided erroneous

information to the accident aircraft’s flight control system as to the accident aircraft’s angle of

attack; the flight control system of the accident aircraft failed to filter out this erroneous

information and commanded the accident aircraft to go into a dangerous downward dive; there

was no means or method for the flight crew to safely manually override the improperly-

commanded downward movement; the flight crew had not been instructed and advised as to any

means or method to correct the improperly-commanded downward movement and could not regain

control of the accident aircraft; and the aircraft crashed into the Java Sea, killing all those onboard,

including plaintiffs’ decedents.

      10.   Plaintiffs’ decedents left surviving heirs and next of kin, including plaintiffs, for whose

benefit this action is brought.

      11.   Plaintiffs and the other heirs and next of kin of their respective decedents have suffered

a loss of support, loss of net accumulations, loss of household and other services, loss of care,

comfort, companionship, guidance, and society, and mental anguish, sorrow, and grief as a result

of the deaths of plaintiffs’ decedents.

      WHEREFORE, plaintiffs pray for the entry a judgment in their favor against defendant The

Boeing Company for an amount in excess of the minimum jurisdictional amount of this Court,

together with costs and such other amounts as may be allowed by law.

                                             COUNT II

      1-9. As paragraphs 1 through 9 of Count II, plaintiffs reallege paragraphs 1 through 9 of

Count I.


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      10.   As a further direct and proximate result of one or more of the foregoing defective and

unreasonably dangerous conditions of the accident aircraft which resulted in the crash of the

accident aircraft, plaintiffs’ decedents, and each of them, were caused to suffer multiple and

diverse injuries of both a personal and pecuniary nature, inclusive of conscious pain and suffering

and severe terror prior to impact and prior to their deaths, and property damage.

      11.   Had plaintiffs’ decedents survived, each of them would have been entitled to bring an

action for damages and such actions have survived them.

      WHEREFORE, plaintiffs pray for the entry a judgment in their favor against defendant The

Boeing Company for an amount in excess of the minimum jurisdictional amount of this Court,

together with costs and such other amounts as may be allowed by law.

                                             COUNT III

      1-4. As paragraphs 1 through 4 of Count III, plaintiffs reallege 1 through 4 of Count I.

      5.    On a date prior to or about August 2018, defendant Boeing designed, manufactured,

assembled, and sold a certain Boeing 737 Max 8 aircraft, Registration PK-LQP (“the accident

aircraft”) and prepared and provided an Aircraft Flight Manual (AFM) for the accident aircraft.

and defendant Boeing further provided the operator of the accident aircraft, Lion Air, with after-

sale warnings, instructions, and advice as to the maintenance, repair, and proper and safe operation

of the accident aircraft.

      6.    On said date and at all times relevant hereto, defendant Boeing owed a duty to plaintiffs

and plaintiffs’ decedents to exercise reasonable care in the design, manufacture, assembly, and

sale and the providing of after-sale warnings, instructions, advice to the operator of the accident

aircraft so as not to cause injury to, or the deaths of, plaintiffs’ decedents.

      7.    Defendant Boeing negligently breached its duty of care owed to plaintiffs and

plaintiffs’ decedents through one or more of the following negligent acts or omissions:


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(a) negligently designed, manufactured, assembled, and sold the accident aircraft such that
    the accident aircraft had a flight control feature which, in the event sensor(s) on the
    aircraft reported an erroneously high angle of attack, would command a nose down
    movement of the aircraft unauthorized by, and without notice to, the flight crew;
(b) negligently designed, manufactured, assembled, and sold the accident aircraft such that
    the subject sensor(s) on the accident aircraft were subject to failure in flight and subject
    to providing erroneous information to the aircraft’s flight control system as to the
    aircraft’s angle of attack;
(c) negligently designed, manufactured, assembled, and sold the accident aircraft such that
    the subject sensor(s) on the accident aircraft were subject to becoming blocked or
    obstructed, causing them to provide erroneous information, including erroneous
    information as to the aircraft’s angle of attack;
(d) negligently designed, manufactured, assembled, and sold the accident aircraft such that
    the accident aircraft’s flight control system failed to filter out erroneous information,
    including erroneous information as to the accident aircraft’s angle of attack;
(e) negligently designed, manufactured, assembled, and sold the accident aircraft such that
    the accident aircraft’s above-described flight control feature commanded dangerous
    downward movements of the accident aircraft unauthorized by the flight crew and did
    not allow the flight crew a means or method to timely and safely manually override an
    improperly-commanded downward movement;
(f) negligently designed, manufactured, assembled, and sold the accident aircraft such that
    the accident aircraft did not provide a means or method for the flight crew to timely and
    safely correct an improperly-commanded downward movement and recover control of
    the accident aircraft;
(g) negligently prepared and provided the AFM for the accident aircraft in that the AFM
    did not warn of the dangers presented by the above-described defects;
(h) negligently prepared and provided the AFM for the accident aircraft in that the AFM
    did not provide instruction as to a procedure to be followed by the flight crew to timely
    and safely correct an improperly commanded downward movement and to recover
    control of the accident aircraft;
(i)   negligently failed to warn of the above-described defects in the accident aircraft;
(j)   negligently provided or failed to provide proper and adequate after-sale warnings,
      instructions, and advice as to the maintenance and repair of the accident aircraft; and
(k) negligently provided or failed to provide proper and adequate instruction to flight crews
    of Lion Air as to the proper and safe operation of the accident aircraft and, specifically,
    negligently failed to advise and instruct such flight crews as to a procedure to be
    followed by the flight crew to timely and safely correct an improperly commanded
    downward movement and to recover control of the accident aircraft.



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      8.    On October 29, 2018, the accident aircraft was being operated by Lion Air as Flight

No. JT 610 from Jakarta, Indonesia to Pangkal Pinang. Indonesia

      9.    On said date, plaintiffs’ decedents were fare paying passengers onboard the accident

aircraft on the subject flight.

     10.    As the direct and proximate result of one or more of the above-described negligent acts

or omissions of defendant Boeing, one or more of the sensors on the accident aircraft failed and

provided erroneous information to the accident aircraft’s flight control system as to the accident

aircraft’s angle of attack; the flight control system of the accident aircraft failed to filter out this

erroneous information and commanded the accident aircraft to go into a dangerous downward

dive; there was no means or method for the flight crew to safely manually override the improperly-

commanded downward movement; the flight crew had not been instructed and advised as to any

means or method to correct the improperly-commanded downward movement and could not regain

control of the accident aircraft; and the aircraft crashed into the Java Sea, killing all those onboard,

including plaintiffs’ decedents.

      11.   Plaintiffs’ decedents left surviving heirs and next of kin, including plaintiffs, for whose

benefit this action is brought.

      12.   Plaintiffs and the other heirs and next of kin of their respective decedents have suffered

a loss of support, loss of net accumulations, loss of household and other services, loss of care,

comfort, companionship, guidance, and society, and mental anguish, sorrow, and grief as a result

of the deaths of plaintiffs’ decedents.

      WHEREFORE, plaintiffs pray for the entry a judgment in their favor against defendant The

Boeing Company for an amount in excess of the minimum jurisdictional amount of this Court,

together with costs and such other amounts as may be allowed by law.




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                                           COUNT IV

     1-4. As paragraphs 1 through 4 of Count IV, plaintiffs reallege paragraphs 1 through 4 of

Count I.

     5-10. As paragraphs 5-10 of Count IV, plaintiffs reallege paragraphs 5-10 of Count III.

     11.   As a further direct and proximate result of one or more of the aforesaid negligent acts

and omissions of defendant Boeing which resulted in the crash of the accident aircraft, plaintiffs’

decedents, and each of them, were caused to suffer multiple and diverse injuries of both a personal

and pecuniary nature, inclusive of conscious pain and suffering and severe terror prior to impact

and prior to their deaths, and property damage.

     12.   Had plaintiffs’ decedents survived, each of them would have been entitled to bring an

action for damages and such actions have survived them.

     WHEREFORE, plaintiffs pray for the entry a judgment in their favor against defendant The

Boeing Company for an amount in excess of the minimum jurisdictional amount of this Court,

together with costs and such other amounts as may be allowed by law.

                                              COUNT V

     1-5. As paragraphs 1-5 of Count V, plaintiffs reallege paragraphs 1-5 of Count I.

     6.    At the time the accident aircraft and its AFM left the control of defendant Boeing, they

were defectively and unreasonably dangerous in one or more of the following respects:

     (a) the accident aircraft had a flight control feature which, in the event sensor(s) on the
         aircraft reported an erroneously high angle of attack, would command a nose down
         movement of the aircraft unauthorized by, and without notice to, the flight crew;
     (b) the subject sensor(s) on the accident aircraft were subject to failure in flight and subject
         to providing erroneous information to the aircraft’s flight control system as to the
         aircraft’s angle of attack;
     (c) the subject sensor(s) on the accident aircraft were subject to becoming blocked or
         obstructed, causing them to provide erroneous information, including erroneous
         information as to the aircraft’s angle of attack;


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      (d) the accident aircraft’s flight control system failed to filter out erroneous information,
          including erroneous information as to the accident aircraft’s angle of attack;
      (e) the accident aircraft’s above-described flight control feature commanded dangerous
          downward movements of the accident aircraft unauthorized by the flight crew and did
          not allow the flight crew a means or method to timely and safely manually override an
          improperly-commanded downward movement;
      (f) the accident aircraft did not provide a means or method for the flight crew to timely and
          safely correct an improperly-commanded downward movement and recover control of
          the accident aircraft; and
      (g) the AFM for the accident aircraft did not warn of the dangers presented by the above-
          described defects; and
      (h) the AFM for the accident aircraft did not provide instruction as to a procedure to be
          followed by the flight crew to timely and safely correct an improperly commanded
          downward movement and to recover control of the accident aircraft.
      7.    Defendant Boeing also failed to warn of the above-described defects in the accident

aircraft, failed to provide proper and adequate after-sale warnings, instructions, and advice as to

the maintenance and repair of the accident aircraft; and failed to provide proper and adequate

instruction to flight crews of Lion Air as to the proper and safe operation of the accident aircraft

and, specifically, failed to advise and instruct such flight crews as to a procedure to be followed

by the flight crew to timely and safely correct an improperly commanded downward movement

and to recover control of the accident aircraft.

      8.    In designing, manufacturing, assembling and selling the accident aircraft with the

defects set forth in para. 6 (a)-(h) above and in performing or failing to perform the acts set forth

in Count III and in para. 7 of this Count, defendant Boeing acted willfully, wantonly, recklessly

and with an intentional or conscious disregard for the safety of plaintiffs’ decedents and the others

on the accident aircraft.

      9.    Specifically, defendant Boeing had actual or constructive knowledge of the defects set

forth in paragraphs 6(a)-(h), yet failed to correct these defects and failed to warn Lion Air and

other operators of the dangers presented by these defects and defendant Boeing had actual or


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constructive knowledge of the fact that the flight crews of Lion Air did not know of any means or

methods to correct the improperly-commanded downward movement and regain control of the

accident aircraft, yet failed to provide complete and proper training and instruction.

      10.   Defendant Boeing and the U.S. Federal Aviation Administration issued a warning after

the subject air crash, stating that the subject sensors could provide incorrect information and cause

an extreme nose down attitude of the aircraft and possible impact with terrain.

      11.   As the direct and proximate result of one or more of the above-described willful,

wanton, reckless, intentional or conscious acts or omissions of defendant Boeing, one or more of

the sensors on the accident aircraft failed and provided erroneous information to the accident

aircraft’s flight control system as to the accident aircraft’s angle of attack; the flight control system

of the accident aircraft failed to filter out this erroneous information and commanded the accident

aircraft to go into a dangerous downward dive; there was no means or method for the flight crew

to safely manually override the improperly-commanded downward movement; the flight crew had

not been instructed and advised as to any means or method to correct the improperly-commanded

downward movement and could not regain control of the accident aircraft; and the aircraft crashed

into the Java Sea, killing all those onboard, including plaintiffs’ decedents.

      12.   Plaintiffs’ decedents left surviving heirs and next of kin, including plaintiffs, for whose

benefit this action is brought.

      13.   Plaintiffs and the other heirs and next of kin of their respective decedents have suffered

a loss of support, loss of net accumulations, loss of household and other services, loss of care,

comfort, companionship, guidance, and society, and mental anguish, sorrow, and grief as a result

of the deaths of plaintiffs’ decedents.




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     14.   As a further direct and proximate result of one or more of the aforesaid willful, wanton,

reckless, intentional or conscious acts and omissions of defendant Boeing which resulted in the

crash of the accident aircraft, plaintiffs’ decedents, and each of them, were caused to suffer

multiple and diverse injuries of both a personal and pecuniary nature, inclusive of conscious pain

and suffering and severe terror prior to impact and prior to their deaths, and property damage.

     15.   Had plaintiffs’ decedents survived, each of them would have been entitled to bring an

action for damages and such actions have survived them.

     16.   The aforesaid willful, wanton, reckless, intentional or conscious acts and omissions of

defendant Boeing which resulted in the crash of the accident aircraft warrant and justify an award

of punitive damages in an amount to punish defendant Boeing for its conduct and to deter future

such conduct.

     WHEREFORE, plaintiffs pray for the entry a judgment in their favor against defendant The

Boeing Company for punitive damages in an amount to be determined at trial, together with costs

and such other amounts as may be allowed by law.

     PLAINTIFF DEMANDS TRIAL BY JURY.

Dated: November 19, 2018                          Respectfully submitted,


                                                              /s/Floyd A. Wisner
                                                              Attorney For Plaintiffs

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